Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 |Page 1 of 28 PagelD #: 405

Abourezk AAUG Keynote3

Then, in 1975, when the Lebanese civil war erupted, the divisions
between Arab regimes became magnified in Lebanon, and they
became real here in America. Although religion had very little to do
with the Lebanese conflict, the Maronite church in America tried to
make it so. It became a game of the Phalangist leadership in Lebanon
to force people in this country to choose sides, resulting in a serious
split in loyalties here, just as it resulted in a deadly split in Lebanon.
The fact that the Phalangists were being supported by Israel made the
divisions even more pronounced, and, in fact, deepened the crisis of
identity being suffered by many in our community for the first time.
Many of our community felt the need to continue to support the
Palestinian cause, but withheld their support in part because of how
the media began portraying Palestinians as terrorists, and in part
because of the split engendered by the Phalangists. By this time, the
media began labeling alt Palestinians as terrorists. If you will recall
the ugly editorial cartoons, the movie and television portrayals,
among other things.

To further the attack on Arabs in general and Palestinians in
particular, all Arabs were portrayed as either bandits or spendthrifts.
The few rich Gulf Arabs who made the news became the standard

_ image for Arabs of all stripes. The fact that most Arabs are poor, and
live in an underdeveloped state meant nothing to the Zionists and
their supporters. We thus became, in the eyes of the media, either
undeservedly rich, or unrepentantly bomb throwers.

That split, and that identity crisis continued unabated for years. As a
community, we began to change that in 1980, when the community
put together ADC. It's specific purpose was to try to re-unite the
entire Arab American community, and it succeeded, up to a point. As
a community, we had some tremendous obstacles to surmount. The
head of the Maronite church forbade its members from joining ADC,
primarily because we refused to support the Phalangist cause in
Lebanon. There were many people jealous of the rapid growth of
ADC, resulting in a good deal of undercutting of its mission. I
remember one Arab American who called me at ADC and told me
that he was starting a local anti-discrimination group--it was here in
California. I told him that would be great. Would he like to become a
chapter of ADC? No, he said. He could do it much better alone. That
attitude was part of the problem as well. There was more than one
Arab American who, if they could not be in charge, refused to join in
a united effort. There was more than one group formed because
people could not bear the thought of not being the leader. Although
we know that is a carry-over from the old country attitudes, it had
some effect on us here.

@y

http://www.cafearabica.com/archive/issue2nov96/organizatinns/kevnotes? html

Page i of 1

AMAMnnda

Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 |Page 2 of 28 PagelD #: 406

Abourezk AAUG Keynote4

Additionally, we had a great many in our community who feared the
loss of their business if they took part in any political movements.
This created a great many internal conflicts, resolved only by many
Arab Americans refusing to take part in community political
activities. It resulted in many of those dropping out altogether,
amplifying their own identity crisis, forcing them to deny their
heritage for fear of losing business because of it.

I went to Columbia, South Carolina, to organize a chapter of ADC,
and was told by the community leader--an older Lebanese immigrant
who had come to America in the 1930's--that in my speech to his
group I should not bring up politics. But, I told him, that was the only
message I had to deliver. He nervously disagreed, still trying to talk
me out of anything political. The local Lebanese club that he headed
had only a few older people as members, but on that day there were a
great many fresh, young faces in the audience. Of course I gave them
my organizing speech, sprinkled with liberal doses of anti-Israeli
thetoric, along with denunciations of the U.S. government's policy.
At first, my host cringed. But later when he saw the enthusiastic
reaction of the young people in the audience, the applause generated
by the politics in my speech, he warmed to the task of having them
join his Lebanese club. They did, along with forming an ADC
chapter.

Our identity crisis has become, I'm sad to say, magnified by the
signing of the agreement with Israel by Yasir Arafat. Amid the great
desire for this conflict to come to an end came serious doubts about
the efficacy of the agreement, especially when it came to any
benefits for the Palestinian people as a whole. Our community was,
and is, torn between a desire to get it all over with, and the
recognition that in return for Yasir Arafat being crowned president of
a non-existent Palestine, he gave it all away. It was as if using a
sports analogy, someone blew a whistle in the middle of a play, and
everyone just stopped, without finishing the play. Our community
hoped for the best, but feared the worst. Because Arafat left all the
important issues--that is, important to the Palestinian people~for
later, he is, to use another analogy, left at the altar with a small
bouquet of flowers, but with no arrous. The issues of Jerusalem, of
settlements, of nationhood, all were left for later. Later is now here,
and Netanyahu is not so anxious to step up to the altar with Arafat,

This is not so much an identity crisis, as a crisis of the spirit. Do we

revert to our former persona as resisters of Israeli objectives? Or do
we play along, hoping for the best?

@u

Gféaablea HOME

Bireriar era lala (oss

hitp://www.cafearabica.com/archive/issue2nov96/organizations/kevnotés4 html

Page lof 1

APADONA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 |Page 3 of 28 PagelD #: 407
Abourezk AAUG Keynote5

| Page 1 of 2

] think, that in search of our identities, that our benchmark be our
principles--those same principles that most of us have stood upon
from the beginning. I think it is beneficial to use as a symbol of how
to find our identity, Edward Said. Despite criticism over the years
from many different directions, Edward--and a great many of you
here in this room--have stood firm on lasting principles. Edward
never tried to determine what was good for him, personally. As a true
intellectual, he made his decisions based on what was good for the
people as a whole. His has been an exercise in advancing civilization,
not only in Palestine, but in the world as a whole. He is someone
who instills great pride in me, and who is a role model for all of us.
He has no doubt about who he is and where he comes from. There
are many more in our community like Edward who are firmly
planted, who know who they are, and who have no crisis of identity.

But I've learned from bitter experience that if I begin to name them,
I'm sure to forget someone, and the trouble begins.

And we have symbols of just the opposite. . . of those who establish
their principles on shifting sands, who never quit searching for an
identity that will suit them.

He is someone whose religion is opportunism, whose politics is
opportunism, and whose philosophy is opportunism.

He allies himself with Zionists, then complains only mildly when his
allies bomb civilians in South Lebanon.

He endorses the Arafat agreement with Israel before he knows
whether or not the Palestinians--those who are most affected by it—
will respond. And he does so because his Zionist sponsors in the
White House demand such an endorsement.

The task given him in return for his entree into the White House
under Clinton is to deliver the Arab American community into the
arms of the Zionists. His reward is, apparently, an unlimited number
of photo opportunities in the White House. But you will notice, that
there has not been one scintilla of change of policy that has
accompanted that access.

Biblically, Judas Iscariot was the man who betrayed Jesus. In more
modern times, farmers have placed what is known as a "Judas goat"
to entice other animals to come into their trap.

Our community, in an effort to define ourselves, must be wary of
Judas goats placed in our midst in an effort to end our reliance on our
principles. We must stand firm, and we must fight smart. And we
must be able to know the difference between principle and
opportunism. Only then will our own identities take shape.

http://vww.cafearabica. com/archive/issue2nov96/organizations/keynotes5 html 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 4 of 28 PagelD #: 408
Abourezk AAUG Keynote5 Page 2 of 2

@ PRONG GMirablea nome

. Comments? Email editor@cafearabica.com

http://www.cafearabica.com/ archive/issue2nov96/organizations/keynotes5.htm! 4/24/2004
tabbies

Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 |Page 5 of 28 PagelD #: 409
James Abourezk | The Progressive Media Project Page 1 of 3

eptember 23, 2002

My visit to Iraq
y former Sen. James Abourezk

T recently traveled to Iraq, and as I saw Iraqi civiliansjon the streets of
aghdad, I could think only of what percentage of these innocents would be
ying dead after a war started by President Bush.

_ There is little question that the U.S. military would be able to crush Iraq ina
ew short days -- the world's largest superpower against a poorly defended

Third World country. But in Bush's quest of domination of Saddam Hussein,

_ how many thousands of Iraq civilians will fall victim to the high-tech

slaughter of "smart bombs" and other weapons of real mass destruction

_ delivered by the U.S. military?

We saw small children in the cancer ward of the Baghdad children's hospital
doomed to an early death because of the lack of medicine. That medicine has
been blocked by the American and British delegates to a review committee
that is charged with monitoring imports into Iraq for the food-for-oil program.
We learned from human-rights organizations that one in 10 Iraqi children die
before their first birthday, and one in three of these children suffer from
malnutrition. :

Rep. Nick Rahall, D-W.V., and I traveled together. We impressed upon Iraqi
Deputy Prime Minister Tariq Aziz that Bush was absolutely serious, that he
wanted a war and that allowing weapons inspectors into Iraq would remove
his reasons for invading. Although Aziz seemed a bit negative in responding

to us, two days later his government announced that inspectors could come in
without conditions.

That announcement perhaps slowed, but did not stop, Bush's drive to start a
war. He is pushing hard on a compliant pre-election Congress for a resolution
allowing him to declare war whenever and however lie sees fit. This is all
unprecedented in American history. We have had minor "incursions" before,
in Panama and Grenada, but never has.the Congress written a blank war check
allowing a president to fill in the blanks at his pleasure and upon his whim.

Senior adviser to the president Karl Rove has told Republican activists that the
Republicans cannot win elections based on the economy and on corporate
EXHIBIT scandals. But they can win, in his words, on a war platform, which perhaps

explains why, when Bush at first said weapons inspectors must be allowed
AO into Iraq, he changed his mind and began demanding ‘more concessions when

http://www. progressive.org/Media%20Proiect™%202/mnas2302.html AIAIINOA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 ‘Page 6 of 28 PagelD #: 410
James Abourezk | The Progressive Media Project Page 2 of 3

the Iraqis agreed to allow the inspectors in.

The Bush administration is using scare tactics. Iraq, despite the insane policies
of the Saddam Hussein regime, has no bombers or long-range missiles that
could deliver weapons of mass destruction. And there is no real connection
between the fundamentalist al-Qaida and secular Iraq. No one has yet
presented credible evidence of a connection between|the two.

An attack on Iraq by Bush would destroy the foundations on which the U.N.
Charter rests. Should India decide to attack Pakistan, or should China decide
to attack Taiwan, or should Russia choose to invade Georgia because of the
rebellion in Chechnya, America will be stripped of moral standing to object to
such aggression. We will have, in fact, set a new, daigerous precedent in an
already dangerous world -- that one nation can with force change any regime
of another nation it doesn't like. What Bush and his warhawks are proposing is
to destroy the basic underlying principle of the United Nations -- that there
shall be no more aggressive wars between nations. —

Those members of Congress who vote to give Bush an OK to start a war will
also have a great deal of explaining to do when the American economy goes
into the tank because of high oil prices and the high ¢ost of the war, and when
American soldiers begin coming home in body bags. The costs will not end
there, but will continue for years as America tries to establish a new
government from the fractious entities now existing in Iraq. Further, if Bush is
serious about the war on terrorism, the invasion he is angling for will certainly
destroy any coalition with Arab countries that are helping us fight that war.

My hope is that there will be enough opposition to this war to stop it before it
starts. If Bush is not willing to listen, then perhaps the Democrats in Congress,

who, up till now, jump when they see their own shadows, will try to derail the
' war train before they, and we, are sorry.

James Abourezk represented South Dakota in the U.S. Senate from 1973 to

1979 and in the U.S. House of Representatives ftom'1971 to 1973. He's the

author of "Advise & Dissent: Memoirs of South Dakota and the U.S.

Senate" (Lawrence Hill Books, 1989) and "Through Different Eyes" (Adler &

Adler, 1987), a book debating issues in the Middle Hast. He can be reached at
pmproj@progressive.org.

Top of Page

http:/Avww.progressive.org/Media%20Project%202/mpas2302. htm! 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 |Page 7 of 28 PagelD #: 411
' james Abourezk | The Progressive Media Project . Page 3 of 3
| |

htto://www.progressive.org/Media%20Proiect%202/mpas2302.html 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 |Page 8 of 28 PagelD #: 412
BookFinder.com: Imperial Washington: The Story of American Public Life from 1870 to ... Page 1 of 1

stole) dalaelommelin Search | About | Interact | Help

Book Information

Imperial Washington:
The Story of American Public Life from 1870 to 1920
by R. F. Pettigrew

ISBN: 0-940880-69-5 / 0940880695

Title: Imperial Washington: The Story of American Publi¢ Life from 1870-to 1920
Author: R. F. Pettigrew .
with James G. Abourezk |
Publisher: Open Hand Publishing, LLC
Edition: Softcover

Click to find the best prices for this book

from over 60,000 booksellers...

Found a mistake in this data?

Conditions of use : © 2004 13th Generation Media
Privncy poliay Search | About | Interact] Help | a ontact ws

EXHIBIT

iol

htto:/Awww.bookfinder.com/dir/i/Imperial Washinstan-The Starv of American Public A/D AINA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 |Page 9 of 28 PagelD #: 413
‘Living Vegetarian A Healthy Way To Eat ! Page 1 of 1

EXHIBIT

ob)

tabbles"

htto://www.itewd.com/vegie/famous.html ; 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 10 of 28 PagelD #: 414
Living Vegetarian A Healthy Way To Eat

Page | of 1

Politicians, Statespersons and Activists

® Our Story.

P.V. Narasimha Rao: For Your Health
Philip Ruddock
Piers Merchant

e Albert Mokhiber
« Andrew Barilett
s Andrew Jacobs

@ Plant of Meat Eaters?

s

6

a & .
» Anne Campbell e Robert Lutz _ Wegetarian Myths
« Anne Gilman e Sardar Vallabhbhai Patel: Types of Vegetarians
« Bernard Weatherall « Soffa of Greece i
« Chelsea Clinton « Susan 8. Anthony 2 * Famous Vegetarians
s Harry Cohen « Tony Banks #Flesh & Plant Foods
« James G. Abourezk e Tony Bern *
e Kamel Junblatt e Viscount Craigavon * Vegetarian Links
e Mahatma Gandhi e Vos Marijke # Discussion Forum
e Moritz Leuenberger e Willem Drees

Back To Famous Vegetarians Survey Central

@ Nutrition Facts

© Visit Our Book Store

® Vegetarian Magazines

PHealth Magazines

* Fitness Magazines

* Free Wallpaper

Guestbook Sign/View

® Contact

hito://www.itewd.com/vegie/famous2. html : 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 11 of 28 PagelD #: 415
Public Campaign -- A New Kind of Reform Politics . Page 1 of 5

EXHIBIT

a>

Public Campaign's National Advisory Board

Founding Chair
John B. Anderson, former U.S. Representative (R-IL)

James G. Abourezk, former U.S. Senator (D-SD)

Larry Agran, Executive Director, CityVote

Ken Alhadeff, Chairman, Elttaes Enterprises

Toney Anaya, former Governor and Attomey General (0), New Mexico
Clifford O. Arnebeck, Jr., Principal, Coalition to End a Permanent Congress
Tom Barlow, former U.S. Representative (D), Kentucky

Berkley Bedell, former U.S. Representative (D-IA)

Derrick Bell, Professor of Law, New York University School of Law

Merton Bernstein, Professor of Law, Washington University Law School

J. Veronica Biggins, Executive Search Consultant, Geldrick & Struggles
John C. Bonifaz, Executive Director, National Voting Rights Institute

John Buchanan, former U.S. Representative (R-AL)

Becky Cain, Trustee, Campaign Finance Institute

Marilyn Canavan

Marc Caplan

George A. Christie, Executive Director, Maine Citizen Leadership Fund
Jeff Cohen, Executive Director, Faimess and Accuracy ti Reporting (FAIR)
Dr. Robert Coles, Professor of Social Ethics, Harvard Urliversity

Martha Layne Collins, former Governor (D), Kentucky

Professor Joseph Cooper, Professor of Political Science, Johns Hopkins University

http://www.publicampaign.org/about/nab.htm 4/9 4/90NA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 12 of 28 PagelD #: 416
Public Campaign -- A New Kind of Reform Politics : Page 2 of 5

John W. Cox, Jr., former U.S, Representative (D-IL)

Mary Dent Crisp, former Co-Chair, Republican National tommittes

Mario M. Cuomo, former Governor (D}, New York

Barbara Flynn Currie, Majority Leader (D), Illinois House of Representatives
Natalie Davis, Candidate, U.S. Senate, 1996

John R. Dellenback, former U.S. Representative (R-OR)

Bill Doyle, State Senator (R), Vermont Senate

James M. Dunn, Reverend and Executive Director, Baptist Joint Committee on Public
Affairs

Tom Eagleton, former U.S. Senator (D-MO)
Peter Edelman, Professor of Law, Georgetown University Law Center

Dr. Thom White Wolf Fassett, General Secretary, General Board of Church & Society,
United Methodist Church

Dr. Thomas Ferguson, Professor of Political Science, Uiversly of Massachusetts @
Boston

Geraldine A. Ferraro, former U.S. Representative (ONY)

Paul Findley, former U.S. Representative (R-iL)

Buzz Fitzgerald, former CEO, Bath tron Works

Rev. Dr. James A. Forbes, Senior Minister, Riverside Church

Alexander D. Forger, Special Counsel, Milbank, Tweed, Hadley & McCloy
Ed Garvey, Candidate, U.S. Senate, 1988 |

Frank Goodman, Professor of Law, University of Pennsyivania Law School
Wesley Granberg-Michaelson, General Secretary, Reformed Church in America
Susan A, Grode, Partner, Kaiten Muchin & Zavis 2

Steve Grossman, former Nationa! Chairman, Democratit National Committee
Joan Anderson Growe, Secretary of State (DFL), Minngsota

Edwin Guthman, Professor of Journalism, University of Southem California School of
Journalism

Milton S. Gwirtzman, Attomey and Member, Senior Advisory Board, Institute of Politics,

htto://www.publicamnaten.ora/ahaut/nah-htm 4/4/9004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 13 of 28 PagelD #: 417
Public Campaign -- A New Kind of Reform Politics Page 3 of 5

John F, Kennedy School of Government, Harvard University
Bob Hall, Research Director, Democracy South

Dan Hamburg, former U.S. Representative (D-CA}

Gary Hart, former U.S. Senator (D-CO), and Lee Hart

Francis Haich, Chair, John Merck Fund

Christle Hefner, Chairman and CEO, Playboy Enterprisas, Inc,

Antonia Hernandez, President & General Counsel, Mexican American Legal Defense and
Educational Fund

Ameid Hiatt, Chair, Stride Rite Foundation

Arianna Huffington, Syndicated Columnist and Author

Carolyn Jefferson Jenkins, President, League of Women Voters of the United States
Michael J. Johnston, Executive Vice President, The Capital Group

Jan Laverty Jones, Mayor (D), City of Las Vegas

Dr. Ruth S. Jones, Executive Assistant to President for University Prograrns, Arizona State
University

Dr. Rosabeth Moss Kanter, Professor, Harvard Business School
Thecdore W. Kheel, Counsel, Battle Fowler
Bill Kovach, Curator, Nieman Foundation, Harvard University

Theodore R. Kupferman, former U.S. Representative (R-NY) and former Senior Judge,
New York State Suprame Court

Richard Lamm, former Governor (D), Colorado

Mildred Robbins Leet, President, Trickle Up Program

Rev. Dr. Jay Lintner, Associate General Secretary, National Council of Churches of Christ.
Jack E. Lohman, President, Cardiac Evaluation Center, Inc,

Harry Lonsdale, Organizer, Campaign for Democracy

Daniel H. Lowenstein, Professor of Law, University of Califomia Los Angeles Law School

Ellen Malcolm, President, EMILY's List

Marjorie Margolies-Mezvinsky, former U.S. Representative (D-PA)

htto://www.nublicamnaien.org/about/nah htm AMAIA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 14 of 28 PagelD #: 418

Public Campaign -- A New Kind of Reform Politics.

Burke Marshall, Professor of Law, Yale Law School

Nancy J, Mayer, General Treasurer (R}, Rhode Island

George McGovern, former U.S. Senator (D-SD)

John D. Moyers, Executive Director, Florence & John Schumann Foundation

Evelyn F. Murphy, former Lt. Governor (D), Massachusetts

Dawn Clark Netsch, former Comptroller (D), illinois

Burt Neuborne, Professor of Law, New York University Law School

David Orr, Cook County Clerk (D), Illinois

Charles H. Percy, former U.S. Senator (R-IL)

Carl Pope, Executive Director, Sierra Club

William Proxmire, former U.S, Senator (D-WI)

Miles Rapport, President, DEMOS

Jamin Raskin, Professor of Law, Washington College off Law, American University
John Rauh, Candidate, U.S. Senate, 1996

Jehuda Relnharz, President, Brandeis University

E. Joshua Rosenkranz, Executive Director, The Brennan Center For Justice
Samantha Sanchez, Director, Western States Center

Rabhi David Saperstein, Director and Counsel, Religioys Action Center of Reform Judaism
Stephen Schlesinger, Director, World Policy Institute

William W. Scranton, former U.S. Representative (R-PA) and Govemor, Pennsylvania

Whitney North Seymour, Jr., former United States Attommey (SDNY) and Independent
Counsel

Alexander Sharp, Executive Director, Protestants for the Common Good
Staniey K. Sheinbaum, Publisher, New Perspectives Quarterly

Frank J. Sorauf, Regents Professor Emeritus, University of Minnesota
Robert T. Stafford, former U.S. Senator (R-VT)

Paul Simon, former U.S. Senator (D-IL)

htto://www.publicampaign.ore/about/nab.htm 4/24/2004

Page 4 of 5
Cage 4:03-cv-04146-LLP. Document 47-4 Filed 07/01/05 Page 15 of 28 PagelD #: 419
Public Campaign -- A New Kind of Reform Politics Page 5 of 5

Andy Stern, President, Service Employees International Union

David Stern, Executive Director, National Association for Public interest Law

Roy Ulrich, public interest lawyer, Los Angeles

Lionel Van Deerlin, former U.S. Representative (D-CA) 2

Ted Van Dyk, President, Van Dyk Associates, Inc.

Arlene Violet, former State Attomey General (R), Rhode island

Rev. Jim Wallis, Editor, Sojourners

L. Ling-chi Wang, Professor & Chair, Asian Americans for Campaign Finance Reform
Charles W. Whalen, Jr., former U.S. Representative (R-OH)

G. Witilam Whitehurst, former U.S, Representative (R-VA)

Ted Willlams, Chairman, Bell Industries

Harriett Woods, former Lt. Governor (D), Missouri

http://www.publicampaign.org/about/nab.htm 4/94/900A
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 16 of 28 PagelD #: 420
Jatnes G. Abourezk . Page 1 of 6

I'll Hold My Nose With One Hand and
Vote For Clinton With the Other

By Former Sen. James G. Abourezk

People have tried to convince me that, as president, Bob Dole
would be better on the Middle East issue. I know that Dole has
demonstrated more than once that he doesn't like what Israel is
doing. And I know that Bill Clinton has demonstrated that he has
an open request line for Israel's wants and needs. With him, it's no
holds barred so far as Israel is concerned. Whatever Israel wants,
Asrael gets, with no argument and no delay. Clinton has only one
principle — get elected, no matter who it hurts or who it helps.

But, despite Dole's private views on Israel, with him, that's as far
as it goes. No matter how much lip service he might pay in
criticizing Israel's actions, he inevitably caves in at the end to give
Israel what it wants. As president, he would be even more
vulnerable to Israeli lobby pressure, because then he would have
not only his entire political party, but also the Republicans (and
Democrats) in the Congress leaning on him to do Israel's bidding.
Not since Eisenhower has a president had the courage to face
down the Israeli lobby. That was in 1956 and that was Ike. Today
the lobby is much more sophisticated and much more organized
than it was in those days. In the words of Lloyd Bentsen, "I know
Bob Dole, and he’s no Dwight Eisenhower."

I actually did know Dole when I served in the U.S. Senate with

him. He was always up-front and straightforward. He had no

hidden agenda. He was not the Republican leader back then, but he

was a respected conservative senator whose word was always

good. I will never forget when the Senate Republicans were on the

verge of destroying the food stamp program. Dole convinced

enough of them to support it, and indeed it was saved. He's been

backsliding a bit lately, what with the fealty he's been forced to

pay to the tobacco lobby, however. Clinton, on the other hand, has

demonstrated his ability to buckle under any kind of political

pressure. As someone once said, he's like a huge cushion. He bears

the impression of whomever sat on him last. While Dole might be

able to withstand pressure until the end, only to eventually cave in,

Clinton comes into a fight looking around for someone to

surrender to. Witness the health care campaign when he was first

elected. His opening — keeping health insurance companies in the

game — was a Compromise, when the problem all along with health

care has been the health insurance companies, There is nothing EXHIBIT
wrong with our medical technology, or the competence of doctors o>
and hospitals. There is something wrong, however, in how health

tabbles*

http:/Avww.cafearabica,com/archive/issuel /stories/nolities/faurviews/ahinuresk html AIM AINA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 17 of 28 PagelD #: 421
James G. Abourezk bo Page 2 of 6

care is financed, and his compromise would not have changed that
at all. But as you might suspect, when you come to the bargaining

table with a compromise already in place, the game is over before
it starts.

Moreover, Clinton has backed away from his friends, such as Lani
Guinier, and Jocelyn Elders, the former surgeon general, and other
appointments. he’s made, or that he's not made, as the case may be.

At the first hint of controversy, he's gone, disappearing into the
datkness, leaving those who supported him to be devoured by the
political wolves. Watching him campaign this year, one wonders if
he ever had a firm belief in anything. The Republicans are furious

as they watch him, every day, steal their issues.

As a Democrat, I like comedian Jackie Mason's philosophy. If
wanted to vote for a Republican, I can do so directly. I don't need a
middle man. Someone else has cormmented that there's no need to
elect a Republican president this year, because we already have
one in the White House. And Clinton can't wait to do things for
Israel, even appointing a working Zionist — Martin Indyk — first as
his White House Middle East specialist, then as ambassador to

Israel, And his virtual endorsement of the Israeli shelling of Qana
was shameful.

But on the Arab-Israeli conflict, I'm confident that there will not
-be one speck of difference between Clinton and Dole. I believe
that both always will do what Israel wants. They both will provide
whatever money Israel needs to continue its war against the Arabs
—at least those Arabs who haven't yet surrendered — and both will
continue uninterrupted the flow of weapons to Israel to prevent it

from being forced by reality to make any kind of fair deal with its
Arab neighbors.

If] thought there would be a hope of a change of policy from Bob
Dole, I honestly would reconsider my position tomorrow. But I've
watched too many presidents come into power with the initial
desire to rein in Israel, only to end up serving Israel.

Every presidential election year, I hear from my friends that a
Republican president would be tough on Israel. What about such a
dream? Well, Republican Ronald Reagan did more for Israel than
any president before him. (Clinton is competing hard.) But even
George Bush the oil man, and the. fabled Jim Baker, did almost no
damage to Israel's objectives while they were running things. I
admit to having a lot of things wrong with me, but amnesia is not
one of them. No, Virginia, there is not one speck of difference in
the political party of the president when it comes to the Middle
East, and perhaps in many other areas as well.

htto://www.cafearabica.com/archive/ssuel /stories/nolitics/fourviews/ahonrezk html 4/94/9NNA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 18 of 28 PagelD #: 422
James G. Abourezk Page 3 of 6

What is wrong with the political parties vis-a-vis the Arab Israeli
conflict is more a reflection on the Arab-American community,
however, than on the politicians. How did it come about that both
Democrats and Republicans bow and scrape to Israel? It is because
the Zionists years ago were able to unite all their many factions
and act as one when it came to getting support for Israel. There is
no shortage of money for candidates who support Israel, because
Israel's supporters, mostly American Jews, open their pocketbooks
when pro-Israeli organizations come around raising money, What
happens when pro-Arab organizations, such as the American-Arab
Anti-Discrimination Committee, and American Educational Trust,
ask for money? It's easier to pull teeth. Those who do have money
to give would rather spend it on something else — anything else —
rather than form a common cause against the Zionists. I know. I
spent 15 years trying to raise something more than a drop of
money for ADC in order to organize the Arab-American
community. Uniting — that's just something the community
apparently doesn't want done.

So what about other issues? For me, it comes down to whom the
respective candidates will bring with them to the government if
elected. For all his wishy-washy vacillating and his finger-in-the-
wind posturing, Clinton has and will continue to appoint a few
people in his administration who will have some semblance of
humanity about them.

The big difference to American Indians here in South Dakota are
the federal judges Clinton has appointed. Actually, they are judges
recommended by our Democratic senator, Tom Daschle, but
named by Clinton, The two he has appointed so far are humane,
fair, scholarly, and able to make courageous decisions against the
grain if they believe they are right. Already they have made a
world of difference for Indian tribes in South Dakota, who for
years have been getting the short end of the stick from Reagan and
Bush appointees. I suspect that if someone did a study of the
quality of federal judges appointed by Clinton around the country,
the result would not be much different.

Make no mistake. I have absolutely no use for what has passed for
the Democratic Party in the past few years. Democratic members
of Congress have grown fat and sassy, and, in fact, have been
acting just like Republicans — cozying up to the big money
interests and forgetting about their less fortunate constituents.
They deserved to be swept out of office in 1994. And unless
they've learned their lesson, they'll be swept out again. The only
thing that saves them now is the unmitigated greed of the class of
Republican freshmen, and their leaders, who seem to want to serve
everyone but the public.

htip://www.cafearabica.com/archive/issuel /stories/politics/fourviews/abourezk html 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 Page 19 of 28 PagelD #: 423
James G. Abourezk . Page 4o0f6

I've been urged by friends to support Ralph Nader's protest run for
thé presidency this year. The theory is that Ralph will pull Clinton
over to his point of view politically. It's a protest against Clinton's
rightward shift, against him running as a Republican, but from the
Democratic Party. My view is that Ralph Nader is one of
‘America's greatest citizens. He's someone I've admired from the
beginning of his career. In fact, if Ralph ever ran a campaign for
the presidency that is something more than just a protest

campaign, I would give up my law practice and work for him full
time.

He is perhaps the most honest, gifted, and intelligent person in or

out of politics in America, But such a protest vote for any third

party candidate would only ensure that even more Republican

hordes would descend on Washington to finish the work Newt
Gingrich started — the work of dismantling America's social
programs — programs that keep poor people alive, that keep the

poor from rioting in the streets, and that keep children from openly -
begging on the streets.

I feel downright angry about the Clinton White House calling the
FBI in every time they want to do something to some of their
political enemies. There's no question in my mind that the recent
brouhaha about the FBI files in the White House was the Clinton
campaign's preparation for an enemies list. That makes Clinton
himself even more distasteful to me. Clinton and his people have
proved they can be mean and heavy-handed.

But when I look at who will come into prominence and influence
should Dole be elected, I really fear for the country. Look what the _
Republican crazies in power have done in the past two years

without a Republican president in office. What will they do if

there is one of their own party in the White House signing their
mean-spirited legislation? Sen. Alphonse D'Amato, Newt

Gingrich, Dick Armey. These will all be running the country if a
Repubiican comes to the White House.

The Republicans who want to slowly strangle Medicare and
Medicaid; those who want to gut the environmental programs
laboriously put in place in the last 25 years; those who want to
make certain the rich are taken care of and those who, at the same
time, want to throw millions of children off welfare, and close
down the Women, Infants and Children's program; they will have
the whip hand, and there would not be anyone to stop them. There

is not one iota of humanity in any of them. They are there to serve
the wealthy and that's that.

Bob Dole would not only go along with Israel's objectives, but he
would swallow the pills being fed to him by Gingrich and

http://www.cafearabica.com/archive/issuel /stories/nolitics/fourviews/abourezk html 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4. Filed 07/01/05 Page 20 of 28 PagelD #: 424
Janes G, Abourezk . Page 5 of 6

Company. Rich Americans should never vote for anyone but a
Republican president. But the rest of us would be crazy to bring
into total power the Rush Limbaughs, the Newt Gingriches, and
the others who believe in economic royalism. Have we so quickly
forgotten how the Republican Congress wants to treat immigrants,
both legal and illegal? Can we forget that most of us in the Arab-
American community either are immigrants or the children of
immigrants?

And, not least, I'm absolutely disgusted at the way the Republicans
have tried to destroy Hillary Clinton. Apparently, because nothing
sticks to Clinton himself, they have aimed their fire at his wife. I'm
convinced they believe that a woman who is intelligent and

_ independent is a threat to all manhood, and the Republican attacks
on her are designed to appeal to that segment of our society -
those who fear that women might do some thinking on their own.
But to me it is a disgusting way to practice politics.

Perhaps I'm thinking back to when I was in office. Try as they
might back then, the Zionists could find no dirt on me, so they
resorted to attacking my children in order to get at me. What
Alphonse D'Amato and Newt Gingrich and the rest of the hatchet
men in the Republican Party are doing with their smear campaign -
is attempting to help themselves, but they're not helping America.
That kind of studied meanness goes hand in hand with the stupid
ham-handedness exhibited by some of the heavies in the Clinton
White House — those who called the FBI in on the travel office
business, and those who collected the FBI files on political
opponents. .

If it is a choice between Clinton's opportunism and Dole's
cronyism — a distasteful choice —I must opt for the more humane
group of people being in power, as we more and more often are
forced to say, "the lesser of the two evils."

This election year, for the reasons I've cited, I will hold my nose
with one hand and vote for Clinton with the other.

Sen. James G. Abourezk, who served in both the House and the
Senate as a Democrat from South Dakota, was a founder of the
American-Arab Anti-Discrimination Committee in 1980. He
practices law in Sioux Falls, SD.

Reprinted by permission from Washington Report on Middle East
Affairs, August/Sept. 1996.

Check out the Washington Report @
http://www. washington-report.org

htto://www.cafearabica.com/archive/issuel /staries/nolitics/fourviews/ahonresi html A/D AANA
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05

* James G. Abourezk

Comments? Email editor@cafearabica.com:

¢

age 21 of 28 PagelD #: 425
Page 6 of 6

htto://www.cafearabica.com/archive/issue1/stories/nolitics/fourviews/ abourezk.html 4/24/2004
Case 4:03-cv-04146-LLP Document 47-4 Filed 07/01/05 bage 22 of 28 PagelD #: 426

NATIONAL NEWS

SRR CUREARR AN oh a Sa a a ape near

SRO RS BEC ee teem seenemaeany

PER

Veterans’ Adminstration benefits counsel-
or in Chicago, began noticing a similarity
in the backgrounds of veterans coming to
her office to file health claims. ‘The only
thing these people had in common was
that they were in Vietnam within a certain
period of time.’’

De Victor logged more than 50 cases of
dioxyn poisoning symptoms before her
supervisor ordered her to stop. Then she
broke the story to the press.

The response was clear. A TV docu-
mentary aired by WBBM in Chicago
resulted in more than 800 veterans con-
tacting the Veterans’ Administration or
veterans counseling groups in an effort to
file claims. There has been a similar, if
slower, reaction nationwide,

But although the veterans are convinced
of the problem, the Veterans’ Admin-
istration is not. In fact, the V.A. has been
anything but cooperative about the
dioxyn poisoning claims. In April, it
issued a directive instructing all offices to
demand specific symptoms, dates of ex-
posure and other. information from vet-
erans. According to the memo, ‘‘Mere
exposure itself is not a disease or a clis-
ability.’’ The V.A. also stated that there
was no provision for claims of genetic
damage to veterans’ children.

“The long-term effect of Agent Orange
has never been medically verified,” a
V.A. spokesperson said, adding that its
toxicity is ‘‘no higher than aspirin.” He
also called the World Health Organiza-
tion’s report, ‘‘North Vietnamese prop-
aganda.”’

Many veterans groups like the New
York-based Citizen Soldier as well as
environmental organizations are calling
the V.A.’s bluff and beginning a massive
expose campaign. Its effect, moreover,
could go far beyond the Y.A. Dioxyn is
sprayed over five million acres of national
forest land in the United States and it can
be found in commercial weed killers.
Several people have reported dioxyn
Poisoning symptoms in- Oregon, Minn-
esota and Wisconsin after 2,4,5-T was
sprayed.

Despite the evidence against Agent
Orange, its manufacturer, Dow Chemical,
is carrying on production with little inter-
ference, In its harshest action to date, the
Environmental Protection Agency put
2,4,5-T on a list of suspect chemicals in
April. But this is merely the first step ina
long bureaucratic procedure that gives the
manufacturer a chance to rebut the
charges, .

Dow, which also produced napalm, has
engaged in an extensive public relations
campaign for 2,4,5-T, claiming that the
herbicide is ‘‘harmless’’, Cj

A Talk with

South Dakota’s Abourezk: the Senate's “lonellest man”.

the “ Lonely Man”

O7YOM a0lM

~ BY SHELDON SUNNESS

“The loneliest man in the Senate,’ was
the way a Washington journalist once
described Senator James Abourezk.
Lonely, perhaps, but not bored ner bor-
ing. In fact, the junior Senator from
South Dakata has been in the middle of
virtually every major controversy invaly-
ing the Senate and the Carter Adminis-
tration this year. A member of the Senate-
louse Conference Committee on Energy,
he was a harsh critic of Administration
and energy-company policies. As a mem-
ber af the Sub-Committee on Indian
Affairs, he has supported the self-deter-
mination and land rights of Native
Americans. Fram his position on the
Judiciary Committee, he has been critical
of the Supreme Court and, from the floor
of the Senate, Jim Abourezk has become
the major Congressional supporter of
Palestinian self-determination,

After one term in the Senate, Abourezk

has announced he wiil not seek re-elec-
tian. That faet and the important role he
plays as critic in major debates in Con-
gress today convinced us that we should
hawe a taik with the Senator. Sheldon
Sunness sat down with Abourezk in
Whshington in May for a conversation on
energy policy, inflation and foreign poli-
cy; Here are the highlights of that inter-
vidw,

The Carter Administration has begun to
say that inflation has replaced unemploy-
ment as the most important issue in the
country today. What do you think?
Presidential advisor Robert Strauss,
who spends all this time fighting inflation
on behalf of the President, doesn’: have
the slightest care about the inflation
caused by gas and oi prices. They talk

Sheldon Sunness is a New York free-lance
writer who also works as a bartender
—ds Senator Abourezk once did.

EQS

tabb)

EXHIBIT
Case 4:03-cv-04146-LLP Document At- 4 Filed 07/01/05 Page 23 of 28 PagelD Ht AQ fenecssnrcy

NATIONAL NEWS

ESE SSP GS eas

‘ SLAF RSS RE SP SSG SSIS SCS ER RCE ee

about inflation caused by the postal work-
ers, the farmers. and the coal miners.
What about the oil and gas companies?
You don't hear one word. No, they help
the companies.

Doesn't it also take the thrust off un UMen-
ployment as an issue?

| then they: don’t have to: worry. about put-
ting People to. work, :

As a Presidential caindidate, ‘Jimmy €arier
spoke a lot about tax reform: But as Pres-
ident, he offéred: Httle- and delivered

into: a stone wall in Congress? oe
“It’s both; You! get-storew: n Con:
gress a lot; but’ a: ‘President’ can ‘overcome

 public.: [& Carter: “expended: as much
energy. on: tax reform. ashe: did on: this
lousy energy. stinker of his, he'd have
some B00d: tax’ reform. Right now, there
are 67° co-sponsors. to repeal the capital
gains tax. Poyou: believe that?:

But: ‘doesn't that fact support the argu-
ment that no President could get f real tax
reform through the Congress? |

’ But what if the President went on: T. v.

capital: gains, just like he did 0 on m energy?

energy bill passed. - :

That’s why he’s had no success: Tfhe had
left natural gas deregulation out of his
package, it would have passed long ago.
In fact, the only reason 90 percent ‘of his
program hasn’t’ passed’ now is because
he’s asked [House Speaker] Tip O'Neill to
hold it.up and use it as a lever to pass
natural ‘gas deregulation..

What should the energy: program be, be-
sides omitting natural gas deregulation?

First, I believe there ought to be man-
datory conservation, not conservation
through higher prices. It’s unfair not to
have alternative means of transportation,
to hook everyone in their autos and then,
in effect, to pull the rug out from under
by saying that we must now pay three to
four times as much for fuel. ~ :

Next, widely expanded use of solar
energy, by simple means; not these gigan-
tic research programs. I’ve proposed to
‘give people a long-term, low-cost loan to
buy solar energy components. That would
create @ mass market and make the equip-
ment available more cheaply. Right now
people can’t afford the initial cast.

-They’d..be-happy- to-do that because.

even. less... Has. ie” failed’ or’ has he: Tun .

that because he has'a tot: af clout with the.|°

atid made: a ““sky-is-falling’* speech: on: [:;

Exactly, he aid make that energy “speech: :
and a year later he still hasn’t got: his |

But hé came up with’a lousy progratir. |

And there’s no government agency
right now, especially not the Department
of Energy, providing people: with. infor-
mation about simple solar devices they
could build for Practically nothing. -

You’ ve been | very critical of the ‘oil: and
gas companies, calling them the “snake
oi salesmen. of the 703."": You've argued

P ment, currently. perpetrating : a. ‘collective
tape of the American consumer of a mag-
nitude unknown it our_history.’’ How do
you ‘get: these companie ‘out: of the
government?

Public- financing Fe: the: Congiessional
|. Faces. isthe. first step hen, YOU: try: tio

--interest, not the interest. of'oil: -companieg.
They come up with this monsense:‘'If you,

' produce,’? My. response’ is: if. they don't
produce, nationalize: them: *T’ve" always

concept that a private: company. can prq-
duce oil.if it wants-to at‘a fair. price and an
: adequate profit. But if the ¢ companies won't
‘do itand ‘they’ want exorbitant: profits
=-to hell with them; They have no right to
‘disrupt the ‘economy: and. make’ people
. suffer, and*go. without- food... There” are

actiice between heating their
es in winter time ‘and-eating. They
ust don have enough money to. pay
or both: we .

[Have pecple just accepted all this?

... The public hasn't accepted it but they
feel there's nothing they can do about it.
They feel the die is cast and the President
is against them, “the Congress is. against

‘them, the oil companies and the banks,
that they’re all in ‘om it‘ together. The
public smells that and they’ re right
actually. .

You’re regarded as a very vocal critic of
U.S. Middle East policy. What do you
consider a fair and just Middle East
setilement?: ~

Ithink, first, a homeland for the Pales-
tinians, a state. That was the heart of the
problem: from the beginning and it must
end with that. :

Can. that homeland be carved out of the
West Bank, out of Jordan?

Yes, the Palestinians have indicated
that that’s what they’re willing to accept.
At this time, it’s a matter of reality for
them.

So it wouldn't have to come out of any of
the borders that now comprise Israel?

: that they’ré in: collusion: “with: the govern |. -.

West Bank and the Gaza Strip.”
“determine oil poligy: based’ on'the national..|

dow’ t:pay us our price; We're not going to |”

said that. “You. ought. to “begin. with the’

t! Dakota, old people, who. |

The Palestinian state could come out of
the West Bank and the Gaza Strip. How
do you know what the borders of Israel
are? They don’t know. You know, that’s
the only country in the world that doesn’ t
have any record ’of its borders.

How about resolving other issues like the
Goian Heights or the Sinai Desert? |
Well, that’s--very easy. It's mainly: a

' question of establishing a state ‘for the

Palestinians~~it’s not.that hard'to do. Up
until 1967, the: Palestinians wanted: the

original. land: from™ which they'd’ been Ls
driven‘ out. Then they found out that’ was

unrealistic’ and ‘began: talking about the

Wat do: you thifali ‘of the Carier Admin.
-istration’s overall Middle East policy?. ” bs
~T worry ‘about Carter’s commitmerit to

a Palestinian state. He began by saying it|
should exist but’ now [National: Security |

i
3
4
2
4
a
‘t
4
3
4
3
8
4
4
“
a
a

Advisor: Zbigniew} Brzezinski is dismis-} 3

. Sing the P,L.O: out of band: I°wonder[
“whether they’re not attempting to cookup|
some deal with Sadat to knock the Pal-
éstinians out of the equation of

You've often said that our policy has heen ; 3

paralyzed by: the’ Isrielt: lobby. But,” in

fact, there: are. several influential” Ameri-
; cans [former Senator}: ‘William Fulbright,

Bert Lance,’ Spire- Agnew and Clark
Clifford—whom: ‘columnist. Jack : Ander-
son caHed the lobbyist of lobbyists—

registered as lobbyists on the Arab coua-|
tries’ payrolls. Don’t you. think that cuts [ 4

into the influence of the Israeli lobby?-...

Well, no. Whether those péople areon} .:

the payroll_of Arab countries. doesn’t

mean a thing’ What matters is, first, are , :
they lobbying and, second, are they effec- | 2
tive in their cause?. I’ve never seen ‘Bill 4

Fulbright lobbying up here on the Hill. .

The only time I saw. Clark Clifford talk 3
about the Middle East was on a CBS news|,
Program, when he said: that Harry Truman |

supported Israel i in 1948 out of conscience

and not under pressure of Jewish voters|' &
..Most of these people are businéss| 2

lawyers, corporation. people ‘who..repre- | 3
sent a govermment in its foreign business} 3

dealings. They’re called lobbyists not :

because they lobby. but simply because

they register as foreign agents as our laws} 4

require.

Beyond that, looking only. at foreign :
agents overlooks the fact that many
domestic lobbies—like B’nai B'rith, the|
American Jewish Committee, the Ameri-|

can Jewish Congress and the Zionist Or-
ganization of America~—lobby for the
Israeli cause, even though. they’re. not
registered as foreign agents. Oo

10 duly 1975

ADVISE &
DISSENT

Memoirs of
South Dakota
and the US. Senate

- JAMES G. ABOUREZK

LAWRENCE
HILL ~
BOOKS.

Library of Congress Cataloging-in-Publication Data

Abourezk, James.
Advise and dissent : memoirs of South Dakota and the U.S. Senate /
James G. Abourezk. — 1st ed.
p- cm.
ISBN 1-55652-066-2
1. Abourezk, James. 2. Legislators—United States—Biography,
3, United States, Congress. Senate—Biography. 4. South Dakota—
Politics and government. I. Title.
E840.8.A19A3 1989
328.73'092—dc20 : 89-15354

CIP

Copyright © 1989 by James G. Abourezk
All rights reserved

Printed in the United States of America
First edition

First printing
Published by Lawrence Hill Books

An imprint of Chicago Review Press, Inc,
814 North Franklin Street

Chicago, Hlinois 60610

ISBN 1-55652-066-2

Filibuster 144

senators who opposed both the filibuster and my position on natu-
ral gas were angered, rising to denountce the actions of Byrd and
Mondale. To them it was a question of principle. They saw a threat
to the system of fairness on which Senate procedure is based. Then,
in the midst of the pandemonium samething both strange and
funny happened.

Majority Leader Byrd asked for recognition from the chair, and
was advised that he had already used the hour allotted to him. In
order to speak further he had to get the unanimous consent of the
Senate, a request that was ordinarily granted. But when he made
the request, Senator John Culver objected. Suddenly Byrd spun
around and loosed all of his pent-up anger directly ar Culver. He
said nothing about either Metzenbaum or me, who had been the
burrs under his saddle for the thirteen-day filibuster, but, looking
straight at Culver, he spoke passionately about all the times he had
“carried the spear” for the liberals, expressing total resentment at
the mistreatment now being meted aut to him by those he had
helped. Then he broke into tears, a spontaneous act that succeeded,
unwittingly, in bringing temporary quiet to the Senate floor.

After a time, I rose, got recognition, and called Jimmy Carter a
liar, What I actually said was that during my entire adult life I.
knew that governments lied, but I had never thought that Jimmy
Carter would lie. I was playing on ohe of the themes of Carter’s
campaign for the presidency in 1976, when he repeatedly vowed
that he would never tell a lie to the American people. Senator
Jim Allen walked over to me, and demanded—privately—that |
apologize to the president. I told him that [refused to do so until
the president first apologized for stabbing me in the back. Then
Allen returned to his own desk in orfler to try to get everyone to
calm down. He got recognition, and then began addressing the
tactics used by Mondale and Byrd, in response to those senators
who were complaining about them. “The steamroller you complain
of,” he said, “is nothing like the steamrollers in the past. I can bear
witness to this from my flattened out body.”

Then he pointed in my direction and said, “I observe the distin-
guished senator and note that his body has not yet been flatrened
by the steamroller.”

Everyone then began shouting for recognition, including me.
Somehow I was recognized. It seemdd to me a perfect opening to
continue Allen’s effort to break th¢ tension thar hung over the
Senate like an unwanted cloud of Los Angeles smog. Not only
were the senators emotionally tired from thirteen days of virtually

142 ADVISE & DISSENT

nonstop filibustering by amendment, but they were physically ex-
hausted, making them more grouchy than usual. So I said, “I mse
on a point of personal privilege because the shape of my body has
been impugned.” -

No one expected to hear any levity at that point, which I guess
made it all the more effective inl breaking the tension. “I cannot
help it if I’m fat, and I wish that the senator from Alabama would
somehow recognize that fact.” _

More from relief than from a line that was not all that funny,
the entire Senate broke out in sustained laughter.

‘A few minutes later I called together the small band of Demo-
cratic senators who had supported the filibuster, asking for advice
on our next move. Surprisingly, we still had at our disposal more
than 300 of the original 508 amendments that we had introduced
at the beginning of the filibuster. With that many amendments it
was possible to keep the filibuster going for the rest of the year,
but because Carter was no longer even pretending to switch votes,
there seemed to be no advantage in doing so.

Ted Kennedy pulled me off ta the side and suggested that we end
the filibuster; but that we put the blame for the whole affair at
Carter’s feet. (Kennedy was undoubtedly laying the groundwork
for his primary challenge against Carter in 1980.) Given our anger
at Carter and Mondale for what we saw as their treachery, it
seemed like a reasonable thing to do. So Metzenbaum and I called
a quick press conference at which we described what had happened.

‘A week or so later, after tempers had cooled, Carter invited
Metzenbaum and me to the White House for what he called a
“discussion.” The only reference that he made to the filibuster was
a brief, casual comment to the effect that we had handled the whole
matter rather well. I took that as the only way he knew how to
apologize for his double-dealing. The only comment that he would
give the press after the affair ended was that he was not responsible
for the filibuster. af

Our filibuster ended in late 1977. At the beginning of 1978, the
House-Senate Conference Coimmittee was unable to iron out the
differences between the two gas deregulation bills they were work-
ing on. Metzenbaum and | were members of the Conference Com.
mittee and we compounded the difficulty by using every opportu:
nity to prevent agreement by the committee members. The Carter
Schlesinger response to the committec’s failure to produce a unified.
bill was to cut a deal with Republicans on the committee and thes€
Democrats who supported deregulation. To that end they invited

Somebody Out There Hates Me 189

Denver. At that point in my political career—

“pa y Fund Raiser in
-thad already announced that I wouldn’t run again—I was making
q concerted effort to spend more time at home with my family. |

cotested—slightly—then agreed to go, saying that 1 would bring

my wile with me.
_ But on Monday night, five days before the dinner was scheduled,

rangements committee for the affair held a meeting to which

ihe ar da meeti
the Denver press was invited. Apparently this committee had no

authority over the choice.of speaker, that being the province of the
ty chairman, Monte Pascoe. But this little

stare Democratic par
detail in no way deterred the arrangements committee, which pro-

ceeded to consider a motion to “disinvite Abourezk,” on the
grounds that he was not sufficiently pro-Israel.

Totally unsuspecting, I was called Tuesday morning by some of
the Denver press, who obviously smelled a good story coming on,
asking for my reaction to the committee meeting.

“My reaction ... my reaction?” I repeated, trying to think of
something to say. “Well, | can see that there are some supporters
of Israel out there. Now let’s see if anybody in Denver supports the
right of free speech.”

The press now had a certified controversy——one that bubbled
along on the front pages for the rest of the week. Arnie Zaler, the
head of the Denver chapter of the Zionist Organization of America,
told a reporter that since the Democratic platform called for sup-
port of Israel, 1 should not be allowed to speak, because | did not
obey the platform.

When I arrived in Denver on Friday, I announced to an airport
press conference that, although I had taken an oath to uphold the
Constitution of the United States, the Constitution did not require
me to swear allegiance to the State of Israel.

By then the Denver newspapers and television stations were
editorializing in my favor and against the efforts to cancel my
appearance. But even though that was no longer the issue—Arnie
Zaler apparently saw his position slipping and on Wednesday had
told the press that he was in favor of ending the confrontanon—I
was angry enough that! continued to attack both the arrangements
committee and the Zionist Organization of America, Denver
chapter.

By the time Saturday rolled around, immense amounts of public-
ity had doubled the anticipated size of the crowd for the dinner,
and “Abourezk” had become a household word in Denver. Most
amusing was the total discomfort that the controversy was causing

